          Case 1:20-cr-00110-LJL Document 248 Filed 11/15/21 Page 1 of 13




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X             11/15/2021
                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :
                                                                       :
                                                                       :    20-cr-110 (LJL)
                  -v-                                                  :
                                                                       :   OPINION & ORDER
LAWRENCE RAY,                                                          :
                                                                       :
                                     Defendant.                        :
                                                                       :
---------------------------------------------------------------------- X


LEWIS J. LIMAN, United States District Judge:

        Defendant Lawrence Ray (“Ray”) moves to suppress evidence obtained from a computer

seized, pursuant to warrants, at the house of his father (the “Premises” or “Apartment”) on or

about July 22, 2021. On July 21, 2021, the government received a warrant (the “Premises

Warrant”) to search the residence of Mr. Ray’s father in Staten Island and seize a silver 17-inch

Macbook Pro (the “Computer”) used by Mr. Ray, and on July 23, 2021, after seizing the

Computer from Mr. Ray’s father’s house the prior day, the government received a second

warrant (the “Computer Warrant”) to search the entirety of his Computer. Ray moves to

suppress the evidence obtained from the Computer on the grounds that there was an insufficient

nexus between the seized Computer and the probable cause asserted in the Premises Warrant and

that the Computer Warrant was overly broad and non-particularized. Ray recognizes that the

challenges he makes are similar to those raised and rejected in Ray’s prior motion to suppress

evidence seized pursuant to warrants. Familiarity with the Court’s prior opinion at Dkt. No. 184

is assumed. Based on substantially the same principles discussed in the Court’s prior opinion,

Ray’s motion is denied.
                                                         1
         Case 1:20-cr-00110-LJL Document 248 Filed 11/15/21 Page 2 of 13




                                        BACKGROUND

       The seizure of the Computer was effectuated through two warrants. The Premises

Warrant was obtained on July 21, 2021. It authorizes law enforcement to search an apartment

belonging to a person identified in the warrant application only as the Relative, but who all

acknowledge now is Ray’s father, and to seize the Computer and to search it for evidence of the

crimes charged in the superseding indictment (the “Indictment”). The affidavit in support of the

Premises Warrant was sworn by Special Agent Kelly Maguire (“SA Maguire”), the Federal

Bureau of Investigation Special Agent who signed most of the affidavits in support of the

warrants discussed in the Court’s prior opinion. The affidavit attaches the Indictment returned

against Ray and Isabella Pollok (“Pollok”), Dkt. No. 127, and provides probable cause from that

Indictment that Ray engaged in the federal crimes of RICO conspiracy, forced labor, trafficking

with respect to and conspiracy to commit forced labor, and sex trafficking, as well as money

laundering, extortion, and tax evasion. Among other allegations, the Indictment charges that

Ray, Pollok, and others extracted false confessions from their victims, including an individual

identified as Female Victim-1, and used those false confessions to extort money from the

victims, to force some of the victims to perform unpaid manual labor, and to cause Female

Victim-1 to engage in commercial sex acts for the benefit of Ray, Pollok, and others.

       The affidavit also provides probable cause to believe that evidence of the crimes of Ray

and Pollok would exist in digital and/or electronic form. Among other things, Ray, Pollok, and

others documented the victim’s false confessions and retained at least some of them in digital or

electronic form. SA Maguire describes data reviewed from Ray’s email accounts (pursuant to a

warrant) which contains emails attaching and/or forwarding the false confessions and other

sensitive, humiliating, and incriminating material. SA Maguire further describes information



                                                 2
         Case 1:20-cr-00110-LJL Document 248 Filed 11/15/21 Page 3 of 13




reviewed on the electronic devices contained in Ray’s residence on the day of his arrest that

include videos of interrogations of the victims of the offenses charged in the Indictment, as well

as incriminating information and evidence of the crimes charged in the Indictment found in

Pollok’s iCloud account. The filenames of certain attachments and recordings reflect that the

material originated and/or was maintained on an electronic device. Next, the affidavit provides

probable cause to believe that the Computer, described as the “Subject Device,” would contain

evidence of the criminal activity charged in the Indictment and is itself evidence and an

instrumentality of criminal activity. SA Maguire describes a conversation she had with Female

Victim-2 on May 21, 2021; Female Victim-2 was with Ray at Ray’s residence at the time of his

arrest and lived at that residence. Female Victim-2 conveyed that Ray used the Computer “all

the time” within his residence and brought the Computer to his bedroom before going to sleep at

night; that she observed Ray using the Computer to, among other things, record “confessions”

from the victims; and that she was present when law enforcement searched Ray’s residence at

the time of his arrest, that law enforcement did not discover the Computer, and that Pollok told

Female Victim-2 that she found the Computer wedged between Ray’s bed and bedside table

within the residence after law enforcement left the Premises. Female Victim-2 saw Pollok take

the Computer and bring it to her bedroom; a few days after the arrest, Pollok and Female

Victim-2 brought the Computer to Ray’s father’s apartment. Female Victim-2 stated that she

was last at the father’s apartment on December 21, 2020 and, while there, saw the Computer

inside a black laptop bag in the living room.

       Probable cause to believe that the Computer would be at the Premises and that it would

contain evidence of the crimes charged in the Indictment was corroborated by review of audio

recordings of Ray from the Metropolitan Correctional Center to his father in June 2020 (after



                                                 3
         Case 1:20-cr-00110-LJL Document 248 Filed 11/15/21 Page 4 of 13




Ray’s arrest). In those calls, Ray tells his father that “we need to index the evidence” and “[w]e

need to categorize the evidence,” and makes reference to the fact that the evidence includes

digital evidence of the confessions of Female Victim-1. 1

       The Premises Warrant application seeks authority to seize the Computer for later review

including by conducting a file-by-file review by opening or reading the first few pages of a file

to determine its precise contents and whether it contains evidence or the fruits of the crimes

charged in the Indictment. The application further states that law enforcement will make

reasonable efforts to restrict their search to data falling within the categories of evidence

specified in the warrant. But it does not limit law enforcement to the use of search terms.

       The Computer Warrant was signed on July 23, 2021 and authorizes law enforcement to

search the Computer for evidence of the crimes charged in the Indictment. The affidavit in

support of the Computer Warrant also is signed by SA Maguire. It includes all of the same

information that is in SA Maguire’s affidavit in support of the Premises Warrant. It also adds

that during the execution of the Premises Warrant, SA Maguire asked Ray’s father (identified

again as the “Relative”) where he kept the Computer provided to him by Isabella Pollok and that

the father pointed to a black bag on the floor of the living room of the Apartment. The black bag

contained the Computer, which was in a white rubber case wrapped in tinfoil. Ray’s father

stated that Pollok had provided him the bag containing the Computer and that he had not touched

it since then. The Computer Warrant application also stated that when SA Maguire connected

the Computer to a power source at the FBI, she observed that it was password protected and




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 The warrant application also provides evidence that the premises to be searched are those of
Ray’s father, including that the Premises are his listed address, and his name was listed on the
posted tenant list.
                                                  4
         Case 1:20-cr-00110-LJL Document 248 Filed 11/15/21 Page 5 of 13




locked but that its home screen displayed an icon of a lion’s head and the name Lawrence Ray,

above which was a password protected field.

                                          DISCUSSION

       Ray argues first that the Premises Warrant does not establish probable cause to believe

that fruits, instrumentalities, and evidence of Ray’s alleged crimes would be located at the

Premises because it was signed on July 21, 2021, seven months after Female Victim-2 said she

last saw the black computer bag in December 2020 and almost a year and a half after she said

she saw the Computer at the Premises in February 2020. He argues that the warrant application

provided no detail suggesting that the black computer bag was distinctive or that Female

Victim-2 had ever seen Ray use a black computer bag for his device; on the contrary, she had

seen Ray store the Computer in a “white rubber” case. Ray argues it was not reasonable to

assume that the computer seen by Female Victim-2 was in the black bag she saw seven months

ago. Ray also argues that the June 2020 recorded jail calls between Ray and his father discussing

a need to “index” and “categorize” the “evidence” does not support an inference that the

Computer was still in Ray’s father’s possession because the calls make no reference to the

Computer. In Ray’s telling, the content of these calls is best understood to refer to the

documents produced by the government in discovery.

       Ray also argues that the Premises Warrant and the Computer Warrant allowing a

“complete review of all the ESI from seized devices or stage media if necessary to evaluate its

contents and to locate all data responsive to the warrant” were overbroad and not sufficiently

particular. The contents of the Computer allegedly included both privileged and irrelevant

information dating back to the 1990s, including information regarding phone calls and letters

between Ray and his attorneys, lists of his medical records, and unrelated books. Ray argues that



                                                 5
         Case 1:20-cr-00110-LJL Document 248 Filed 11/15/21 Page 6 of 13




the government was in a very different position with respect to the warrant application in July

2021 than it was when Ray was first arrested but that the warrants authorized law enforcement to

conduct a search in a similar manner. By July 2021, the government was deep in its

investigation and knew the names of people believed to be victims and those believed to be

coconspirators; in addition, Female Victim-2 herself stated that the information on the Computer

was well organized in “separate files” for different people with “corresponding folders” and Ray

had given “instruction” “on best practices for digital folder structuring.” 2

       Ray’s arguments lack merit. First, Ray lacks standing to challenge the search of the

Premises. “Fourth Amendment rights are personal rights [that] may not be vicariously asserted.”

United States v. Haqq, 278 F.3d 44, 47 (2d Cir. 2002) (quoting Rakas v. Illinois, 439 U.S. 128,

133-34 (1978)). A defendant’s Fourth Amendment rights are violated “only when the challenged

conduct invaded his legitimate expectation of privacy rather than that of a third party.” United

States v. Payner, 447 U.S. 727, 731 (1980); see also United States v. Villegas, 899 F.2d 1324,

1333 (2d Cir. 1990). On a motion to suppress evidence for failure to satisfy the Fourth

Amendment, then, “[t]he defendant ‘bears the burden of proving . . . that he had a legitimate

expectation of privacy.’” United States v. Watson, 404 F.3d 163, 166 (2d Cir. 2005) (quoting

Rawlings v. Kentucky, 448 U.S. 98, 104 (1980)); see also Rakas, 439 U.S. at 130 n.1 (“[T]he




2
  Tellingly, Ray does not allege that the government executed the warrants with the intent or the
effect of impermissibly intruding into defense strategy or into attorney-client communications.
Different issues would be presented in such a case. See, e.g., United States v. Stewart, 2002 WL
1300059 (S.D.N.Y. June 11, 2002) (describing concerns associated with searches involving
likely privileged materials in search of criminal defense lawyers’ offices and evaluating and
outlining procedures used by courts to safeguard attorney-client privilege and Sixth Amendment
right to counsel); United States v. Neill, 952 F. Supp. 834 (D.D.C. 1997) (explaining the “four
factors . . . relevant to whether an alleged intrusion into the attorney-client privilege offends the
Constitution,” including whether the intrusion was intentional, in the context of materials
obtained during the execution of a search warrant).
                                                  6
         Case 1:20-cr-00110-LJL Document 248 Filed 11/15/21 Page 7 of 13




proponent of a motion to suppress has the burden of establishing that his own Fourth

Amendment rights were violated by the challenged search or seizure.”). That burden ordinarily

is carried by the submission of sworn declarations. See, e.g., United States v. White, 2018 WL

4103490, at *8 (S.D.N.Y. 2018) (“That burden ‘is met only by sworn evidence, in the form of an

affidavit or testimony, from the defendant or someone with personal knowledge.’”) (quoting

United States v. Montoya-Eschevarria, 892 F. Supp. 104, 106 (S.D.N.Y. 1995)).

       Ray does not submit an affidavit demonstrating that he had a legitimate expectation of

privacy in the Apartment, nor does he identify any other evidence that would satisfy his burden.

At the time of the search, Ray had been incarcerated for almost a year and a half. The Premises

Warrant itself contains evidence that the Apartment was listed in the name of Ray’s father and

Ray’s father was posted as the tenant occupying the Apartment. Ray thus lacks standing to

challenge the Premises Warrant or the search of the Premises executed pursuant to it.

       Ray’s argument would not withstand analysis even if he had standing. “[P]robable cause

is a fluid concept—turning on the assessment of probabilities in particular factual contexts—not

readily, or even usefully, reduced to a neat set of legal rules.” United States v. Falso, 544 F.3d

110, 117 (2d Cir. 2008) (quoting Illinois v. Gates, 462 U.S 213, 232 (1983)). “The task of the

issuing magistrate is simply to make a practical, common-sense decision whether, given all the

circumstances set forth in the affidavit before him, . . . there is a fair probability that contraband

or evidence of a crime will be found in a particular place.” Gates, 462 U.S. at 238. Moreover,

“[a] magistrate’s ‘determination of probable cause should be paid great deference by reviewing

courts.’” Id. at 236 (quoting Spinelli v. United States, 393 U.S. 410, 419 (1969)). “[S]o long as

the magistrate had a ‘substantial basis for . . . conclud[ing]’ that a search would uncover




                                                   7
         Case 1:20-cr-00110-LJL Document 248 Filed 11/15/21 Page 8 of 13




evidence of wrongdoing, the Fourth Amendment requires no more.” Id. at 236 (quoting Jones v.

United States, 362 U.S. 257, 271 (1960)).

       The Premises Warrant established ample probable cause both that the Computer would

contain evidence of the crimes charged in the Indictment and that it would be located in the

Apartment. It recited direct evidence from Female Victim-2 that a few days after Ray’s arrest in

February 2020, she and Pollok delivered the Computer to Ray’s father at his residence and that

in late December 2020, almost a year later, she saw the Computer still in the living room at the

Apartment. Ray’s argument that Female Victim-2 saw only the black laptop bag in December

2020 and not the Computer itself (and therefore that the presence of an undistinctive black bag is

not of evidentiary value) is mistaken. Female Victim-2 told law enforcement that she saw the

Computer itself in the black laptop bag.

       Third, even if Ray had standing and even if the warrant did not establish probable cause,

suppression would not be an appropriate remedy because law enforcement was entitled to rely in

good faith on the warrant. Under the “good faith exception,” the exclusionary rule and its

remedy of suppression does not apply where evidence is “obtained in objectively reasonable

reliance on a subsequently invalidated search warrant.” United States v. Leon, 468 U.S. 897, 922

(1984). The law encourages law enforcement to obtain warrants and to rely upon them.

Suppression of evidence obtained in reliance upon a facially valid warrant would “[p]enaliz[e]

the officer for the magistrate’s error” and thus not “logically contribute to the deterrence

of Fourth Amendment violations.” Id. at 921. “[S]earches pursuant to a warrant will rarely

require any deep inquiry into reasonableness,” Gates, 462 U.S. at 267 (White, J., concurring in

judgment), for “a warrant issued by a magistrate normally suffices to establish” that a law




                                                  8
         Case 1:20-cr-00110-LJL Document 248 Filed 11/15/21 Page 9 of 13




enforcement officer has “acted in good faith in conducting the search.” United States v. Ross,

456 U.S. 798, 823 n.32 (1982).

       “‘The burden is on the government to demonstrate the objective reasonableness of the

officers’ good faith reliance’ on an invalidated warrant.” United States v. Clark, 638 F.3d 89,

100 (2d Cir. 2011) (quoting United States v. George, 975 F.2d 72, 77 (2d Cir. 1992)).

Considering the “presumption of reasonableness” that attaches to a search pursuant to warrant,

see Clark, 638 F.3d at 99, the Supreme Court in Leon identified four circumstances where the

exception to the exclusionary rule does not apply: (1) where the issuing magistrate has been

knowingly misled; (2) where the issuing magistrate wholly abandoned his or her judicial role; (3)

where the application is so lacking in indicia of probable cause as to render reliance upon it

unreasonable; and (4) where the warrant is so facially deficient that reliance upon it is

unreasonable, id. at 100 (quoting United States v. Moore, 968 F.2d 216, 222 (2d Cir. 1992)).

None of those circumstances apply here. Even if there was a defect in the warrant, law

enforcement was entitled to rely upon it.

       Ray’s challenge to law enforcement’s search of the Computer also lacks merit. The

Court has previously laid out the principles applicable to searches of electronic media. Under

Federal Rule of Criminal Procedure 41(e)(2)(B), a warrant may “authorize the seizure of

electronic storage media or the seizure or copying of electronically stored information” and

“[u]nless otherwise specified, the warrant authorizes a later review of the media or information

consistent with the warrant.” Fed. R. Crim. P. 41(e)(2)(B). “Indeed, due to the unique

challenges that electronic searches pose, ‘it is frequently the case with computers that the normal

sequence of “search” and then selective “seizure” is turned on its head, as computer hardware is

seized from a suspect’s premises before its content is known and then searched at a later time.’”



                                                 9
        Case 1:20-cr-00110-LJL Document 248 Filed 11/15/21 Page 10 of 13




United States v. Nejad, 436 F. Supp. 3d 707, 728 (S.D.N.Y. 2020) (quoting United States v.

Vilar, 2007 WL 1075041, at *35 (S.D.N.Y. Apr. 4, 2007)); see also United States v. Hill, 459

F.3d 966, 974 (9th Cir. 2006) (finding that officers were permitted to remove computer and

storage media from the defendant’s home pursuant to a search warrant “without first determining

whether they actually contained child pornography”). There is thus nothing exceptional, or

unconstitutional, in law enforcement’s seizure of the Computer for search later at the offices of

the FBI. As SA Maguire explained in the Premises Warrant, there are a number of reasons that

searching a computer at a law enforcement facility is appropriate: (1) the volume of data on

electronic media makes it often impractical for law enforcement personnel to review an

electronic device in its entirety at the search location; (2) electronic devices are ideally examined

in a controlled environment because electronic data is particularly vulnerable to inadvertent or

intentional modification or destruction; (3) it can be impossible to bring to the search site all of

the necessary personnel and equipment to safely access the underlying data because of the many

types of electronic media currently in use; and (4) the use of passwords and encryption can

complicate and prolong recovery of data from an electronic device. All or substantially all of

those factors would have been at issue in this case where the Computer was password protected

and it was seized in connection with a criminal case which is hotly contested and in which the

defense would have every right to test whether appropriate chain of custody procedures were

followed and whether the evidence from the electronic media was somehow corrupted or altered.

       The search was not rendered unconstitutional because of the absence of prescribed search

terms or a prescribed search methodology. As a general matter, “the warrant need not specify

how the computers will be searched.” Vilar, 2007 WL 1075041, at *37. It need only require the

government to “reasonably limit its initial search, taking only those steps reasonably necessary to



                                                  10
         Case 1:20-cr-00110-LJL Document 248 Filed 11/15/21 Page 11 of 13




identify documents responsive to the warrant.” United States v. Weigand, 2020 WL 5105481, at

*10 (S.D.N.Y. Aug. 31, 2020). “[O]utside the computer context, the Supreme Court has held

that ‘it is generally left to the discretion of the executing officers to determine the details of how

best to proceed with the performance of a search authorized by warrant.’” Vilar, 2007 WL

1075041, at *37 (quoting Dalia v. United States, 441 U.S. 238, 257 (1979)). The rule is no

different when the search is to be conducted in the virtual or electronic world than in the physical

world.

         “The reason for not imposing such a requirement on law enforcement in conjunction

with search warrant applications for computer searches is obvious—in most instances, there is no

way for law enforcement or the courts to know in advance how a criminal may label or code his

computer files and/or documents which contain evidence of criminal activities. In other words,

to require courts in advance to restrict the computer search in every case to certain

methodologies or terms would give criminals the ability to evade law enforcement scrutiny

simply by utilizing coded terms in their files or documents.” United States v. Graziano, 558 F.

Supp. 2d 304, 315 (E.D.N.Y. 2008). Indeed, “few people keep documents of their criminal

transactions in a folder marked ‘drug records.’” Weigand, 2020 WL 5105481, at *9 (quoting

United States v. Riley, 906 F.2d 841, 845 (2d Cir. 1990)). As the Second Circuit has stated, “it

will often be impossible to identify in advance the words or phrases that will separate relevant

files or documents before the search takes place, because officers cannot readily anticipate how a

suspect will store information related to the charged crimes. Files and documents can easily be

given misleading or coded names, and words that might be expected to occur in pertinent

documents can be encrypted; even very simple codes can defeat a pre-planned word search.”

United States v. Ulbricht, 858 F.3d 71, 102 (2d Cir. 2017).



                                                  11
        Case 1:20-cr-00110-LJL Document 248 Filed 11/15/21 Page 12 of 13




       Ray argues here that the government was in possession of information from Female

Victim-2 that Ray maintained separate files for the victims of the subject offenses, that he had

best practices for digital folder structuring, and that he told his father that the evidence would

have to be indexed and categorized. On that basis, Ray would have the Court hold that the

government should be limited to searching within the Computer only those folders bearing the

name of a victim. But Female Victim-2 did not say that Ray kept his documents and

communications relating to the subject offense exclusively within files for the victims or that the

files for the victims bore the names of the victims or any other specific identifying label. More

importantly, so long as law enforcement uses reasonable measures to search electronic media and

does not dwell on a non-responsive document longer than necessary to determine it is

non-responsive, the Fourth Amendment’s particularity requirement does not prevent law

enforcement from searching the entirety of an electronic device to locate all of the evidence of

criminal activity simply because it could have located some of that evidence by searching only a

portion of the electronic media. “[S]earches of computers may sometimes need to be as broad as

searches of residences pursuant to warrants” and, like searches for papers records, “searches for

electronic records [may] entail[] the exposure of records that are not the objects of the search to

at least superficial examination in order to identify and seize those records that are.” Ulbricht,

858 F.3d at 100.

       Finally, just as suppression would not be an appropriate remedy for any defects in the

Premises Warrant, it would also not be an appropriate remedy even if there were defects in the

Computer Warrant because the government was entitled to rely in good faith upon the terms of

that warrant.




                                                 12
       Case 1:20-cr-00110-LJL Document 248 Filed 11/15/21 Page 13 of 13




                                   CONCLUSION

      The motion to suppress is DENIED.


SO ORDERED.


Dated: November 15, 2021                    __________________________________
       New York, New York                              LEWIS J. LIMAN
                                                   United States District Judge




                                          13
